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IN THE UNITED STATES DISTRICT COURT - ,.\__ 9 /°/z¢ '
FOR THE WESTERN DISTRICT OF TENNESSEE: 1 ` 3 99
EASTERN DIVISION i`
UNlTED STATES OF AMERICA
VS CR NO. lio§-CR-lOUZS-Ol-T
SHENA MARIE GREER
ORDER ON CHANGE OF PLEA

This cause came on to be heard on June 9, 2005, Assistant U. S. Attorney,
Richard Leigh Grinalds, appearing for the government, and the defendant appeared in person
and With counsel, M. Dianne Srnothers, Who was appointed

With leave cf the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in One (l) Count Indictment.

This case has been Set for sentencing on Thursda Se tember 8 2005 at 9:00 A.M.

 

The defendant is allowed to remain on her present bond.

S D. TODD
ED STATES DISTRICT JUDGE

DATE q Q'{A,N, QJUS/

IT IS SO ORDERED.

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with Flule 55 and/or 32(b) FRCrP on _, Q¢/d¢'é 5

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ErdrESSEE

 

Richard Leigh Grinalds

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Honorable J ames Todd
US DISTRICT COURT

